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12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                                     )
15                                                   ) Case Number: 3:20-cv-07363-WHO
     MARK SHIN,                                      )
16                                                   ) JOINT STATUS REPORT
17          Plaintiff,                               )
                                                     )
18                                                   )
            vs.                                      )
19                                                   )
20   ICON FOUNDATION,                                )
                                                     )
21          Defendant.                               )
                                                     )
22                                                   )
23
                    Pursuant to the Court’s February 22, 2022, Order, the parties provide the
24
     following status report regarding the Colorado Criminal Action. Plaintiff reports that the
25
     Colorado Criminal Action is moving expeditiously towards trial, with trial scheduled to begin on
26
     August 23, 2022.
27
28                                          Page 1 of 2
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             Case 3:20-cv-07363-WHO Document 108 Filed 06/21/22 Page 2 of 2




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2      Dated: June 21, 2022                     ROCHE FREEDMAN LLP

3                                               By: /s/ Kyle W. Roche
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                                                Brad Seiling
11                                              Misa K. Eiritz
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                                                Jason Gottlieb Admitted pro hac vice
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                                                MORRISON COHEN, LLP
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                                                Attorneys for Defendant Icon Foundation
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16
17
                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(I)(3)
18          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence
19
     in the filing of this document has been obtained from the signatories above.
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28                                         Page 2 of 2
                                   STATUS REPORT | 3:20-cv-07363
